              Case 4:21-cv-00664-JSW Document 34 Filed 10/20/22 Page 1 of 6




 1   DONALD W. COOK
     Attorney at Law
 2   3435 Wilshire Blvd., Suite 2910
 3   Los Angeles, CA 90010
     Telephone: (213) 252-9444
 4   Facsimile: (213) 252-0091
     Email: doncook@earthlink.net
 5
 6   SANJAY S. SCHMIDT (State Bar No. 247475)
     LAW OFFICE OF SANJAY S. SCHMIDT
 7   1388 Sutter Street, Suite 810
     San Francisco, CA 94109
 8
     Telephone: (415) 563-8583
 9   Facsimile: (415) 223-9717
     Email: ss@sanjayschmidtlaw.com
10
     Attorneys for Plaintiffs,
11
     JENNIFER FINK-CARVER and JASON FINK
12
     NOAH G. BLECHMAN (State Bar No. 197167)
13   noah.blechman@mcnamaralaw.com
14   ALEXANDRA ROMERO (State Bar No. 335570)
     Alexandra.Romero@mcnamaralaw.com
15   MCNAMARA, NEY, BEATTY, SLATTERY,
     BORGES & AMBACHER LLP
16   3480 Buskirk Avenue, Suite 250
17   Pleasant Hill, CA 94523
     Telephone: (925) 939-5330
18   Facsimile: (925) 939-0203
19   Attorneys for Defendants
20   OFFICER KUHN and CITY OF PLEASANT HILL

21
                                  UNITED STATES DISTRICT COURT
22
                                 NORTHERN DISTRICT OF CALIFORNIA
23
24
25   JENNIFER FINK-CARVER and JASON              Case No. 4:21-cv-00664-JSW
     FINK,
26                                               STIPULATION AND [PROPOSED]
                   Plaintiffs,                   ORDER TO AMEND SCHEDULING
27                                               ORDER (Civil L.R. 7-1(a)(5) and Civil L.R.
            vs.                                  7-12)
28
     CITY OF PLEASANT HILL POLICE


     STIP. & [PROP.] ORD. TO AMEND SCHEDULING ORDER                                           1
     Fink-Carver v. City of Pleasant Hill, et al.
     USDC (N.D. Cal.) Case No. 4:21-cv-00664-JSW
             Case 4:21-cv-00664-JSW Document 34 Filed 10/20/22 Page 2 of 6




 1   OFFICER KUHN, CITY OF PLEASANT
     HILL, and DOES 1 through 20,
 2
                  Defendants.
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     STIP. & [PROP.] ORD. TO AMEND SCHEDULING ORDER                          2
     Fink-Carver v. City of Pleasant Hill, et al.
     USDC (N.D. Cal.) Case No. 4:21-cv-00664-JSW
              Case 4:21-cv-00664-JSW Document 34 Filed 10/20/22 Page 3 of 6




 1          Pursuant to Civil L.R. 7-1(a)(5) and Civil L.R. 7-12, the parties, by and through their
 2   respective counsel of record, hereby stipulate to the following:
 3      1. WHEREAS, this Court issued a scheduling order, on June 14, 2021;
 4      2. WHEREAS, on September 15, 2021, Plaintiffs moved to substitute new counsel into this
 5          action, ECF Nos. 14-15, which motions were granted by the Court, on September 29,
 6          2021, ECF Nos. 17-18;
 7      3. WHEREAS, the parties have been working to obtain the key discovery needed in order to
 8          prepare their respective cases adequately for mediation, in order to make the session
 9          productive and maximize the chances at a resolution, but due to the impacted schedules
10          of the attorneys and parties, and due to the fact that there was a longstanding, unresolved
11          discovery dispute that precluded a full production of documents by the City, the parties
12          have not been able to obtain the key discovery needed in order to facilitate meaningful
13          participation in a mediation session;
14      4. The pending discovery dispute was concerning the form of protective order to be used, as
15          well as what documents can be designated confidential under such an order; a meet and
16          confer session was held, a draft of the discovery dispute letter was circulated, and the
17          meet and confer process continued and ran its course;
18      5. Although the dispute between lead counsel for the Plaintiffs, Mr. Cook, and lead counsel
19          for the Defendants, Mr. Blechman, regarding the form of the protective order, among
20          other things, was protracted, a resolution has now been reached, which will facilitate the
21          production of the documents that caused discovery to grind to a halt during the pendency
22          of the dispute;
23      6. As of the filing of this stipulation, a proposed, stipulated protective order for the Court’s
24          signature has now been submitted;
25      7. WHEREAS, until this discovery dispute was resolved, the City respectfully declined to
26          produce key documents, including the internal affairs report concerning the incident that
27          gave rise to this suit, inter alia, which documents are needed in order to set and conduct
28



     STIP. & [PROP.] ORD. TO AMEND SCHEDULING ORDER NO. 2
     Fink-Carver v. City of Pleasant Hill, et al.
     USDC (N.D. Cal.) Case No. 4:21-cv-00664-JSW
             Case 4:21-cv-00664-JSW Document 34 Filed 10/20/22 Page 4 of 6




 1         the depositions of the involved officers, as well as to adequately prepare for and
 2         meaningfully participate in the mediation session;
 3      8. A firm date of November 21, 2022, for the court-ordered mediation session with the
 4         Hon. Judge Patrick J. Mahoney (Ret.), has now been set;
 5      9. Counsel for Plaintiffs and Defendants have met and conferred, and identified the key
 6         discovery each side needs in order to meaningfully participate in mediation and have a
 7         productive session;
 8      10. Once Plaintiffs receive the outstanding documents, they will need to depose at least
 9         Defendant Ofc. Kuhn, the K-9 handler, and Defendants will need to depose Plaintiffs;
10      11. To this end, counsel for both Plaintiffs and Defendants have met and conferred, and given
11         the extremely impacted schedules of all counsel, additional time in the schedule is needed
12         in order to coordinate the discovery and depositions, while taking into account the busy
13         schedules of all counsel, the police officer witnesses, and other witnesses, so that both
14         sides can obtain the key discovery that is necessary for a productive mediation on
15         November 21, 2022;
16      12. WHEREAS, the undersigned counsel for the parties met-and-conferred in order to
17         identify the next available series of successive deadlines, all tied to a new trial date, but
18         as result of counsels’ 2023 calendars, defense counsel’s unavailability in September and
19         October of 2023, and the undersigned Plaintiff’s counsel’s already-set-trials in December
20         of 2023, the next available jury trial date is, unfortunately, in January of 2024;
21      13. The parties do not anticipate any further requests to extend the scheduling order in this
22         action;
23      14. WHEREAS, given the foregoing, the parties have met and conferred, and believe that
24         good cause exists under Federal Rule of Civil Procedure 16(b)(4) to modify the current
25         Order Scheduling Trial and Pretrial Matters (ECF No. 24 (modifying ECF No. 22)) a
26         fourth and final time, as shown in the chart below, to provide the parties sufficient time to
27         complete fact and expert discovery, and to prepare and to file dispositive motions and
28         oppositions thereto; each successive date has been extended by approximately 120-days


     STIP. & [PROP.] ORD. TO AMEND SCHEDULING ORDER NO. 2
     Fink-Carver v. City of Pleasant Hill, et al.
     USDC (N.D. Cal.) Case No. 4:21-cv-00664-JSW
              Case 4:21-cv-00664-JSW Document 34 Filed 10/20/22 Page 5 of 6




 1          (instead of 90-days), in view of the unavailability of defense counsel in September and
 2          October of 2023:
 3   Case Event                         Current Date/Disclosure       Proposed Date/Disclosure
 4                                      Deadline/Hearing Date         Deadline/Hearing Date
     Close of Non-Expert Discovery      November 7, 2022              May 16, 2023
 5
     Last Day for Expert Disclosure     November 30, 2022             June 8, 2023
 6
     Rebuttal    Expert    Disclosure December 14, 2022               June 22, 2023
 7
     Deadline
 8   Last Day for Expert Discovery    January 11, 2023                July 20, 2023

 9   Deadline to File Dispositive December 15, 2022         June 23, 2023
     Motion
10   Dispositive Motion Hearing   January 20, 2023, at 9:00 July 28, 2023, at 9:00 a.m.
11                                a.m.

12   Pretrial Conference                April 24, 2023, at 2:00 Dec. 19, 2023, at 2:00 p.m.
                                        p.m.
13
14   Jury Selection                     July 12, 2023, at 8:00 a.m.   January 17, 2024, at 8:00 a.m.
15   Trial Date                         July 17, 2023, at 8:00 a.m.   January 22, 2024, at 8:00 a.m.
16
17
     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
18
19
                                                 Respectfully Submitted,
20
21
     Dated: October 19, 2022                     DONALD W. COOK, Attorney at Law
22                                               -and-
                                                 LAW OFFICE OF SANJAY S. SCHMIDT
23
24
                                                 /s/ Sanjay S. Schmidt
25                                               By: SANJAY S. SCHMIDT
                                                 Attorneys for Plaintiffs,
26                                               JENNIFER FINK-CARVER and JASON FINK
27
28



     STIP. & [PROP.] ORD. TO AMEND SCHEDULING ORDER NO. 2
     Fink-Carver v. City of Pleasant Hill, et al.
     USDC (N.D. Cal.) Case No. 4:21-cv-00664-JSW
              Case 4:21-cv-00664-JSW Document 34 Filed 10/20/22 Page 6 of 6




 1   Dated: October 19, 2022                      MCNAMARA, NEY, BEATTY, SLATTERY,
                                                  BORGES & AMBACHER LLP
 2
 3
                                                  /s/ Noah G. Blechman*
 4                                                By: Noah G. Blechman
                                                  Attorneys for Defendants
 5                                                OFFICER KUHN and CITY OF PLEASANT HILL
 6
     *Mr. Blechman consented to the filing of this document via CM-ECF.
 7
                                             [PROPOSED] ORDER
 8
            Pursuant to the Parties’ Stipulation, and good cause appearing, it is hereby ordered that
 9
10   the Order Scheduling Trial and Pretrial Matters (ECF No. 24) is modified as follows:

11          IT IS SO ORDERED.

12   Case Event                          Current Date/Disclosure       Proposed Date/Disclosure
                                         Deadline/Hearing Date         Deadline/Hearing Date
13
     Close of Non-Expert Discovery       November 7, 2022              May 16, 2023
14
     Last Day for Expert Disclosure      November 30, 2022             June 8, 2023
15
     Rebuttal    Expert    Disclosure December 14, 2022                June 22, 2023
16   Deadline
17   Last Day for Expert Discovery    January 11, 2023                 July 20, 2023

18   Deadline to File Dispositive December 15, 2022         June 23, 2023
     Motion
19   Dispositive Motion Hearing   January 20, 2023, at 9:00 July 28, 2023, at 9:00 a.m.
                                  a.m.
20
21   Pretrial Conference                 April 24, 2023, at 2:00 Dec. 19, 2023, at 2:00 p.m.
                                         p.m.                    December 18, 2023, at 2:00 p.m.
22
23   Jury Selection                      July 12, 2023, at 8:00 a.m.   January 17, 2024, at 8:00 a.m.

24   Trial Date                          July 17, 2023, at 8:00 a.m.   January 22, 2024, at 8:00 a.m.
25
26
27   Dated: ___________
             October 20, 2022                     ________________________________________
28                                                 Honorable Jeffrey S. White
                                                   SENIOR UNITED STATES DISTRICT JUDGE


     STIP. & [PROP.] ORD. TO AMEND SCHEDULING ORDER NO. 2
     Fink-Carver v. City of Pleasant Hill, et al.
     USDC (N.D. Cal.) Case No. 4:21-cv-00664-JSW
